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                                                    U.S. Department of Justice

                                                    Civil Division
                                                    Federal Programs Branch
                                                    P.O. Box 883
                                                    Washington, D.C. 20044
_______________________________________________________________________________________________________

    Carol Federighi                                         Telephone: (202) 514-1903
    Senior Trial Counsel                                    E-mail: carol.federighi@usdoj.gov

                                                    February 24, 2020

    FILED BY ECF

    Hon. Jesse M. Furman
    United States District Judge
    United States District Court for the
      Southern District of New York
    Thurgood Marshall Courthouse
    40 Foley Square
    New York, New York 10007

            Re:      State of New York v. U.S. Dep’t of Commerce, No. 18-cv-2921 (JMF)

    Dear Judge Furman:

            Defendants respectfully submit the attached declaration in accordance with the
    Court’s instruction in its January 2, 2020, Memo Endorsement, ECF No. 682, directing
    that, “within two days of the final production” of newly identified documents responsive
    to Plaintiffs’ discovery requests, “Defendants shall file a sworn declaration confirming
    that the production has been completed.”

                                                    Respectfully submitted,

                                                    JOSEPH H. HUNT
                                                    Assistant Attorney General

                                                     /s/ Carol Federighi
                                                    CAROL FEDERIGHI
                                                    Senior Trial Counsel
                                                    United States Department of Justice
                                                    Civil Division, Federal Programs Branch
                                                    P.O. Box 883
                                                    Washington, D.C. 20044
                                                    Telephone: (202) 514-1903
                                                    E-mail:      carol.federighi@usdoj.gov

                                                    Counsel for Defendants
    cc: All counsel of record (via ECF)
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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK



 STATE OF NEW YORK, et al.,

                                Plaintiffs,
                                                         No. 18-cv-02921
                         v.

 UNITED STATES DEPARTMENT OF
  COMMERCE, et al.,

                                Defendants.


                          DECLARATION OF CAROL FEDERIGHI

       I, CAROL FEDERIGHI, pursuant to the provisions of 28 U.S.C. § 1746, declare, under

penalty of perjury, as follows:

       1.      I am an attorney with the Civil Division, United States Department of Justice,

Washington, D.C. Since April, 2018, I have been assigned responsibility for representing

Defendants in this matter. This declaration is being submitted in response to the Court’s memo

endorsement of January 2, 2020 (ECF No. 682), directing that, “within two days of the final

production” of newly identified documents responsive to Plaintiffs’ discovery requests,

“Defendants shall file a sworn declaration confirming that the production has been completed.”

This declaration is based on personal knowledge and on information furnished me in the course

of my official duties.

       2.      The review and production of newly identified documents, referenced in ECF No.

682, is complete. The results of this process are summarized below.

       3.      On December 19, 2019, Defendants reported to the Court that they had identified

the most likely explanation for the inadvertent omission of certain documents from production
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during the discovery phase of this case (i.e., a faulty search configuration), and that they had run

new searches using corrected configurations to capture other documents that were also similarly

omitted during the discovery phase. See ECF No. 676.

       4.      These corrected searches identified a total of 2,545 potentially responsive

documents. An initial preliminary review by counsel eliminated several hundred documents that

were determined to be not responsive. After accounting for this initial review, Defendants

reported in their December 19, 2019, letter that they had located approximately 480 potentially

responsive e-mails not retrieved by the prior searches, which, including attachments, totaled

2,062 documents remaining for review. ECF No. 676.

       5.      The full review of the entire set of 2,545 documents (including a further review of

those initially determined to be nonresponsive) resulted in the production of 742 documents

between January 10 and February 21, 2020, as follows:

               a. 740 of the newly identified documents (266 emails and 474 attachments) were

                   produced in full or in part to Plaintiffs. Two additional emails that were later

                   designated as nonresponsive were also produced.

               b. 132 of the newly identified documents (3 emails and 129 attachments) were

                   withheld in full on the basis of privilege.

               c. The responsive emails included 354 nonresponsive attachments, which were

                   not produced.

               d. 421 of the newly identified documents (107 emails and their 314 attachments)

                   were determined to be duplicative of documents that had previously been

                   produced.




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              e. Another 896 of the newly identified documents (130 emails and their 766

                  attachments) were determined not to be responsive.

              f. Four privilege logs, describing the withholdings in each of the four partial

                  productions, were produced.


       I DECLARE under penalty of perjury that the foregoing is true and correct.

Executed this 24th day of February, 2020, in Washington, DC.




                                                          s/Carol Federighi
                                                         CAROL FEDERIGHI




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